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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL VETERANS LEGAL
SERVICES PROGRAM, NATIONAL
CONSUMER LAW CENTER, and
ALLIANCE FOR JUSTICE, for themselves
and all others similarly situated,
                        Plaintiffs,                   Case No. 16-745-ESH

       v.

UNITED STATES OF AMERICA,
               Defendant.


                                    [PROPOSED] ORDER

       Upon consideration of the parties’ joint motion to extend the briefing schedule,

       It is ORDERED that the parties’ motion to extend the briefing schedule is hereby

GRANTED; and it is

       FURTHER ORDERED that the time within which the defendant may file a

memorandum of points and authorities in response to plaintiffs’ motion for class certification is

further extended though July 25, 2016, and no additional extensions shall be granted; and it is

       FURTHER ORDERED that the time within which the plaintiffs’ may file a

memorandum of points and authorities in response to defendant’s motion to dismiss is initially

extended though July 29, 2016.



This ____ day of __________, 2016             ___________________________
                                              ELLEN SEGAL HUVELLE,
                                              Senior United States District Court Judge
